         Case 22-33639 Document 29 Filed in TXSB on 03/29/23 Page 1 of 1
                                                                                        United States Bankruptcy Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                          UNITED STATES BANKRUPTCY COURT                                      March 30, 2023
                            SOUTHERN DISTRICT OF TEXAS                                      Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

In re: Shaan and Khan Inc.                              §       Case No. 22-33639
                                                        §
        Debtor                                          §       Chapter 11

       ORDER ON MOTION TO ALLOW DEBTOR TO SELL REAL PROPERTY

       UPON CONSIDERATION 1703 Brookside Pine Lane, Kingwood, Texas 77345 and the court
being apprised of the premises, is of the opinion that the motion should be granted. Therefore, it is

       ORDERED that the Debtor may sell its interest in the real property located at 1703 Brookside
Pine Lane, Kingwood, Texas 77345. It is further

      ORDERED that all liens, taxes and other secured obligations must be paid at closing, in the
amounts required by applicable non-bankruptcy law. It is further

          ORDERED that all closing costs must be paid at closing, in the usual and customary amounts.
It is further

         ORDERED that to the extent the sales price exceeds the associated secured claims plus the
listing broker’s fees, a reserve for Quarterly Fees owed pursuant to 28. U.S.C. § 1930(a) (the “Quarterly
Fees”) in the amount of 0.4% of the selling price or $5,000, whichever is greater, shall be placed
into Debtor’s Debtor-in-Possession bank account and held for payment of final Quarterly Fees. It is
further

       ORDERED that Toorak Capital Partners shall be paid in full at closing in accordance with an
updated payoff quote provided by Toorak Capital Partners, and any portion of the payoff amount
provided by Toorak Capital Partners in dispute shall be held in escrow, or the registry of the court,
pending final adjudication of the payoff amount. It is further

         ORDERED that the completion of the sale will vest the property located 1703 Brookside
 Pine Lane, Kingwood, Texas 77345 in the buyer or purchaser free and clear of liens, claims and
 encumbrances, pursuant to 11 USC § 363(f), except that the taxing entities shall retain their tax liens
 on the property for the 2023 tax year until all amounts assessed have been paid in full.

          IT IS FURTHER ORDERED that the balance of the proceeds, not otherwise escrowed as
 required by this Order, due to the Debtor, Shaan and Khan Inc., after the payment of all closing costs,
 liens, taxes and other secured obligations as required in this Order, shall be paid to the Debtor at
 closing.


Signed: ________________
Signed: March
        October29,
                17,2023
                    2018                            ____________________________________
                                                    Marvin Isgur
                                                       ____________________________________
                                                    United States Bankruptcy Judge
                                                                       Marvin Isgur
                                                            United States Bankruptcy Judge
